       Case 2:16-md-02724-CMR Document 1245 Filed 02/20/20 Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                           MDL2724
 PRICING ANTITRUST LITIGATION                             16-MD-2724

                                                          HON. CYNTHIA M. RUFE
 THIS DOCUMENT RELATES TO:

 I 199SE/U National Benefit Fund v. Actavis               Civil Action No. 19-6011
 Holdco U.S., Inc.




                          . "'---          ORDER
       AND NOW, this     K_ day of February 2020, upon consideration of the attached Joint
Stipulation to Waive Service and Extend the Deadline for certain Defendants to Respond to the

End-Payer Plaintiffs' December 19, 2019 Complaint, it is hereby ORDERED that the

Stipulation is APPROVED.

       It is so ORDERED.

                                                 BY THE COURT:
      Case 2:16-md-02724-CMR Document 1245 Filed 02/20/20 Page 2 of 5




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: GENERIC PHA&l\1ACEUTICALS                                     MDL2724
 PRICING ANTITRUST LITIGATION                                         16-MD-2724
                                                                      HON. CYNTHIA M. RUFE

 1 l 99SEIU NATIONAL BENEFIT FUND, et al.,

                                    Plaintiffs,                       CIVIL ACTION
                v.                                                    NO. 19-6011-CMR

 ACTA VIS HOLDCO U.S., INC., et al.,

                                    Defendants.                       JURY TRIAL DEMANDED




                 JOINT STIPULATION TO WAIVE SERVICE AND
            EXTEND THE DEADLINE FOR DEFENDANTS TO RESPOND TO
                    END-PAYER CLASS ACTION COMPLAINT

        WHEREAS, l l 99SEIU National Benefit Fund; l l 99SEIU Greater New York Benefit

Fund; 1199SEIU National Benefit Fund For Home Care Workers; l l 99SEIU Licensed Practical

Nurses Welfare Fund; American Federation of State, County and Municipal Employees District

Council 37 Health & Security Plan; Louisiana Health Service & Indemnity Company d/b/a Blue

Cross and Blue Shield of Louisiana and HMO Louisiana, Inc.; Self-Insured Schools of

California; and Sergeants Benevolent Association Health and Welfare Fund, on behalf of

themselves and all others similarly situated, (collectively "Plaintiffs") filed a Complaint on

December 19, 2019 in I 199SEIU National Benefit Fund, et al. v. Actavis Holdco U.S., Inc., et

al., Case No. 2: l 9-cv-06011-CMR, MDL No. 2724;

       WHEREAS, Actavis Holdco U.S., Inc.; Actavis Elizabeth LLC; Actavis Pharma, Inc.;
      Case 2:16-md-02724-CMR Document 1245 Filed 02/20/20 Page 3 of 5




Akom Inc.; Akom Sales, Inc.; Amneal Pharmaceuticals, Inc.; Amneal Pharmaceuticals, LLC;

Apotex Corp.; Ascend Laboratories, LLC; Aurobindo Pharma USA, Inc.; Barr Pharmaceuticals,

LLC; Bausch Health Americas, Inc.; Bausch Health US, LLC; Breckenridge Pharmaceutical,

Inc.; Citron Pharma LLC; Dava Pharmaceuticals, LLC; Dr. Reddy's Laboratories, Inc.; Epic

Pharma, LLC; Fougera Pharmaceuticals Inc.; Generics Bidco I, LLC; Glenmark

Pharmaceuticals, Inc., USA; Greenstone, LLC; G& W Laboratories, Inc.; Heritage

Pharmaceuticals, Inc.; Hikma Labs, Inc.; Hikma Pharmaceuticals USA, Inc.; Hi-Tech Pharmacal

Co., Inc.; Impax Laboratories, LLC; Lannett Company, Inc.; Lupin Pharmaceuticals, Inc.;

Mayne Pharma Inc.; Morton Grove Pharmaceuticals, Inc.; Mutual Pharmaceutical Company,

Inc.; Mylan Inc.; Mylan Pharmaceuticals, Inc.; Oceanside Pharmaceuticals, Inc.; Par

Pharmaceutical, Inc.; Perrigo New York, Inc.; Pfizer, Inc.; Pliva, Inc.; Sandoz Inc.; Sun

Pharmaceutical Industries, Inc.; Taro Pharmaceuticals USA, Inc.; Teligent Inc.; Teva

Pharmaceuticals USA, Inc.; Upsher-Smith Laboratories, LLC; VersaPharm, Inc.; West-Ward

Columbus, Inc.; West-Ward Pharmaceuticals Inc.; Wockhardt USA LLC; and, Zydus

Pharmaceuticals (USA) Inc. (collectively, "Waiving Defendants"), have agreed to waive service

of the End-Payer Class Action Complaint, and the parties have reached an agreement to extend

the time within which the Stipulating Defendants must move against, answer or otherwise

respond to the End-Payer Class Action Complaint;

       WHEREAS, on February 7, 2020, the End-Payer Class Action Complaint filed by

Plaintiffs on December 19, 2019, was served on Defendant Camber Pharmaceuticals, Inc.

("Camber"), and Plaintiffs have agreed to extend the time within which Camber must move

against, answer, or otherwise respond to the Complaint;

       WHEREAS, on February 4, 2020, the End-Payer Class Action Complaint filed by
                           I




                                                2
      Case 2:16-md-02724-CMR Document 1245 Filed 02/20/20 Page 4 of 5




Plaintiffs on December 19, 2019 was served on Defendant Alvogen, Inc. ("Alvogen," and,

together with Camber and the Waiving Defendants, the "Stipulating Defendants"), and Plaintiffs

have agreed to extend the time within which Alvogen must move against, answer, or otherwise

respond to the Complaint;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the

undersigned counsel, on behalf of their respective clients, as follows:

        I.     The Waiving Defendants waive service of the End-Payer Class Action Complaint

and Summonses pursuant to Federal Rule of Civil Procedure 4(d), and this Stipulation shall be

deemed proof of that waiver pursuant to Federal Rule of Civil Procedure 4(d)(4).

       2.      The deadline for the Stipulating Defendants to move against, answer, or otherwise

respond to the End-Payer Class Action Complaint is ADJOURNED until such time as the Court

orders the filing of responses to complaints filed on or after May I 0, 2019.

       3.      This Stipulation does not constitute a waiver by the Stipulating Defendants of any

defense, including but not limited to those defenses provided under Federal Rule of Civil

Procedure 12, except that the Stipulating Defendants do not contest personal jurisdiction.

       IT IS SO STIPULATED.


Dated: February 14, 2020


   Isl Roberta D. Liebenberg                         Isl Jan P. Levine
  Roberta D. Liebenberg                              Jan P. Levine
  FINE, KAPLAN AND BLACK, R.P.C.                     PEPPER HAMILTON LLP
  One South Broad Street, 23 rd Floor                3000 Two Logan Square
  Philadelphia, PA 19107                             Eighteenth & Arch Streets
  215-567-6565                                       Philadelphia, PA 19103-2799
  rliebenberg@finekaplan.com                         Tel: (215) 981-4000
                                                     Fax: (215) 981-4 750
  Liaison and Lead Counsel for                       levinej (a),pepperlaw .com
  End-Payer Plaintiffs


                                                 3
Case 2:16-md-02724-CMR Document 1245 Filed 02/20/20 Page 5 of 5




                                 Isl Sheron Korpus
                                 Sheron Korpus
                                 KASOWITZ BENSON TORRES
                                 LLP
                                 1633 Broadway
                                 New York, New York 10019
                                 Tel: (212) 506-1700
                                 Fax: (212) 506-1800
                                 skorpus@kasowitz.com


                                 Isl Saul P. Morgenstern
                                 Saul P. Morgenstern
                                 ARNOLD & PORTER KA YE
                                 SCHOLER LLP
                                 250 W. 55th Street
                                 New York, NY 10019
                                 Tel: (212) 836-8000
                                 Fax: (212) 836-8689
                                 saul .morgenstern@amo Id porter .com

                                 Isl Laura S. Shores
                                 Laura S. Shores
                                 AR:'JOLD & PORTER KAYE
                                 SCHOLER LLP
                                 601 Massachusetts A venue
                                 Washington, DC 20001
                                 Tel: (202) 942-5000
                                 Fax: (202) 942-5999
                                 laura.shores;a>arnoldporter.com


                                 ls/Chui Pak
                                 Chui Pak
                                 WILSON SONSINI GOODRICH &
                                 ROSATI
                                 Professional Corporation
                                 130 I A venue of the Americas, 40th Fl.
                                 New York, NY 10019
                                 Tel: (212) 999-5800
                                 Fax: (212) 999-5899
                                 cpak@wsgr.com

                                 Liaison Counsel for Defendants



                             4
